                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

  CHARLES CURTIS et al.,                          )
                                                  )
                Plaintiffs,                       )
                                                  )
          v.                                      )    Civil Action No: 3:06cv448
                                                  )
  ALCOA INC., Individually and as                 )
  Fiduciary of the Employees’ Group               )
  Benefits Plan of Alcoa Inc., Plan II,           )
                                                  )
                Defendant.                        )


           DEFENDANT ALCOA INC.’S MOTION FOR SUMMARY JUDGMENT

                Defendant Alcoa Inc., by counsel, respectfully moves this Court pursuant to Rule

  56 of the Federal Rules of Civil Procedure and Paragraph 6(b) of this Court’s December 10,

  2007 Order for entry of summary judgment on all causes of action pleaded in Plaintiffs’ Fifth

  Amended Complaint, and granting such other and further relief as the Court deems just and

  proper. In support of its Motion, Defendant relies on its Memorandum of Law in Support of Its

  Motion for Summary Judgment, its Statement of Undisputed Material Facts, the Declaration of




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  Benjamin Gruenstein, the accompanying exhibits to the Declaration of Benjamin Gruenstein and

  all prior pleadings and proceedings herein.

  May 20, 2008                                  Respectfully Submitted,

                                                ALCOA INC.

                                                By:    s/Evan R. Chesler
                                                          Counsel

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                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

  CHARLES CURTIS et al.,                         )
                                                 )
                Plaintiffs,                      )
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          v.                                     )    Civil Action No: 3:06cv448
                                                 )
  ALCOA INC., Individually and as                )
  Fiduciary of the Employees’ Group              )
  Benefits Plan of Alcoa Inc., Plan II,          )
                                                 )
                Defendant.                       )


                      [PROPOSED] ORDER GRANTING
          DEFENDANT ALCOA INC.’S MOTION FOR SUMMARY JUDGMENT

                This matter having come before the Court on the Motion of Defendant Alcoa Inc.

  for Summary Judgment, and the Court, having reviewed the papers filed in support of this

  motion, and for good cause shown;



                IT IS, on this __ day of May, 2008,

                ORDERED that Defendant’s Motion for Summary Judgment is granted.



                ______________________
                Thomas W. Phillips
                United States District Judge




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                                     CERTIFICATE OF SERVICE

                 I hereby certify that on May 20, 2008, a copy of the foregoing was filed

  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

  system to all parties indicated on the electronic filing receipt.

                 Parties may access this filing through the Court’s electronic filing system.

                                        s/Evan R. Chesler
                                           Counsel




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